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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                                 Case No.: 1:17-cv-20931-UU

 CARLOS GUARISMA,

         Plaintiff,

 v.

 HYATT CORP.,

       Defendant.
 ___________________________________/

                                 ADMINISTRATIVE ORDER

         THIS CAUSE is before the Court sua sponte.

         THE COURT has reviewed the record and is otherwise fully advised in the premises. On

 November 10, 2017, the parties filed a Stipulation of Dismissal with Prejudice, D.E. 54.

 Accordingly, it is hereby

         ORDERED AND ADJUDGED that, for Administrative Purposes, this case is CLOSED.

 It is further

         ORDERED AND ADJUDGED that all future hearings are CANCELLED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 13th day of November,

 2017.

                                                   _______________________________
                                                   URSULA UNGARO
                                                   UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record
